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1    ANNETTE L. HURST (SBN 148738)
     ahurst@orrick.com
2    DANIEL D. JUSTICE (SBN 291907)
     djustice@orrick.com
3    ORRICK, HERRINGTON & SUTCLIFFE LLP
     405 Howard Street
4    San Francisco, CA 94105-2669
     Telephone: +1 415 773 5700
5    Facsimile: +1 415 773 5759

6    WILLIAM W. OXLEY (SBN 136793)
     woxley@orrick.com
7    ALYSSA CARIDIS (SBN 260103)
     acaridis@orrick.com
8    ORRICK, HERRINGTON & SUTCLIFFE LLP
     355 S. Grand Avenue
9    Los Angeles, CA 90071
     Telephone: +1 213 629 2020
10   Facsimile: +1 213 612 2499

11   Attorneys for GitHub, Inc. and Microsoft Corporation

12
13                               UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15                                       OAKLAND DIVISION
16
     J. DOE 1, et al.,                               Case No. 4:22-cv-6823-JST
17
                   Individual and                    Consolidated with Case No. 4:22-cv-7074-
18                 Representative Plaintiffs,        JST
19         v.                                        [PROPOSED] ORDER GRANTING
                                                     DEFENDANTS GITHUB AND
20   GITHUB, INC., et al.,                           MICROSOFT’S MOTION TO DISMISS
                                                     PORTIONS OF THE SECOND
21                                Defendants.        AMENDED COMPLAINT IN
                                                     CONSOLIDATED ACTIONS
22
23   AND CONSOLIDATED ACTION
24
25
26
27
28
                                                                      [PROPOSED] ORDER GRANTING
                                                                 GITHUB AND MICROSOFT’S MTD SAC
                                                                               NO. 4:22-CV-6823-JST
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1             This matter came before the Court upon the Motion to Dismiss Portions of the Second
2    Amended Complaint by Defendants GitHub, Inc. (“GitHub”) and Microsoft Corporation
3    (“Microsoft”), pursuant to Federal Rule of Civil Procedure 12(b)(6). The Court, having
4    considered the papers submitted in connection with the motions, including the responses and
5    replies thereto, and all parties having had the opportunity to be heard, concludes as follows.
6             Plaintiffs fail to state a claim under 17 U.S.C. § 1202. First, Plaintiffs fail to identify any
7    copyrighted work from which CMI has been or is likely to be removed. Courts have consistently
8    required plaintiffs to identify copyrighted works from which CMI has been or will be removed.
9    See Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1175 (N.D. Cal. 2019) (dismissing
10   DMCA claim where plaintiff failed to plead “any facts to identify which photographs had CMI
11   removed”) (emphasis added); see also Kadrey v. Meta Platforms, Inc., No. 23-cv-03417-VC,
12   2023 WL 8039640, at *2 (N.D. Cal. Nov. 20, 2023) (dismissing DMCA claim where there were
13   “no facts to support the allegation that [the Large Language Model Meta AI] ever distributed the
14   plaintiffs’ books”) (citing Menzel, 390 F. Supp. 3d at 1175) (emphasis added). Plaintiffs have not
15   done so. Plaintiffs also rely on alleged outputs of short snippets of code, and not outputs of a
16   complete work. Courts have rejected CMI removal liability based on mere excerpts of works,
17   rather than complete works. Falkner v. Gen. Motors LLC, 393 F. Supp. 3d 927, 938-39 (C.D.
18   Cal. 2018); Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F. Supp. 2d 1352, 1356, 1359
19   (N.D. Fla. 2010); Design Basics, LLC v. WK Olson Architects, Inc., No. 17 C 7432, 2019 WL
20   527535, at *5 (N.D. Ill. Feb. 11, 2019); Frost-Tsuji Architects v. Highway Inn, Inc., No. CIV. 13-
21   00496 SOM, 2015 WL 263556, at *3 (D. Haw. Jan. 21, 2015), aff’d, 700 F. App’x 674 (9th Cir.
22   2017).
23            Second, Plaintiffs’ DMCA claim fails § 1202(b)’s identicality requirement. “Even where
24   the underlying works are similar, courts have found that no DMCA violation exists’ unless the
25   works are identical.” ECF No. 189 at 15 (quoting Kirk Kara Corp. v. W. Stone & Metal Corp.,
26   No. CV 20-1931-DMG, 2020 WL 5991503, at *6 (C.D. Cal. Aug. 14, 2020) (emphasis added;
27   and citing Frost-Tsuji, 2015 WL 263556, at *3 (finding no § 1202(b) violation where the
28   allegedly infringing drawing was “not identical.”)). Plaintiffs’ amended pleadings continue to fail
                                                       -2-                      [PROPOSED] ORDER GRANTING
                                                                           GITHUB AND MICROSOFT’S MTD SAC
                                                                                          No. 4:22-cv-6823-JST
      Case 4:22-cv-06823-JST Document 215-1 Filed 02/28/24 Page 3 of 3



1    to plausibly allege that Copilot will suggest output of identical work.
2           Third, Plaintiffs cannot allege the required likelihood of infringement as articulated in
3    Stevens v. Corelogic, Inc., 899 F.3d 666, 673 (9th Cir. 2018). See Tremblay v. OpenAI, Inc., Nos.
4    23-cv-03223, 23-cv-03416, 2024 WL 557720, at *4 (N.D. Cal. Feb. 12, 2024) (dismissing § 1202
5    claim where complaint failed to show that the alleged tampering with CMI “knowingly enable[d]
6    infringement”). Plaintiffs plead threadbare allegations that do not explain how infringement is
7    likely to occur in the context of their DMCA claim. Because the Second Amended Complaint
8    contains no plausible allegations that Copilot’s operation with respect to CMI is likely to result in
9    infringement, the § 1202(b) claims are dismissed.
10          Finally, Plaintiffs’ prayer for unjust enrichment monetary relief and request for punitive
11   damages are dismissed. Plaintiffs do not plead “‘mistake, fraud, coercion, or request,’” as
12   required to support a request for unjust enrichment monetary relief. Astiana v. Hain Celestial
13   Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015) (quoting 55 Cal. Jur. 3d Restitution § 2). And under
14   California law, “punitive damages are never recoverable in routine breach of contract cases.”
15   Oliver v. Astrazeneca Pharms., LP, No. 10-cv-03073-RGK-AJWX, 2011 WL 13214269, at *10
16   (C.D. Cal. Mar. 25, 2011) (quoting Power Standards Lab, Inc. v. Fed. Express Corp., 127 Cal.
17   App. 4th 1039, 1047 (2005)); see Foley v. Interactive Data Corp., 47 Cal. 3d 654, 698-700 (1988)
18   (no punitive damages available for breach of contract).
19          Accordingly, Defendants’ motion to dismiss is hereby GRANTED.
20
21   IT IS SO ORDERED.
22
23   DATED: ________________                               __________________________________
                                                           JON S. TIGAR
24                                                         United States District Judge
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                                                     -3-                     [PROPOSED] ORDER GRANTING
                                                                        GITHUB AND MICROSOFT’S MTD SAC
                                                                                       No. 4:22-cv-6823-JST
